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                               China AI Capital Limited
                               c/o Vistra Corporate Services Centre
                               Wickhams Cay II, Road Town
                               Tortola VG1110
                               British Virgin Islands

                                                                                                                     25 August 2020

                               Our Ref: 1649/20
4th Floor                      Sent by: International Courier
Harbour Centre
42 North Church Street
P.O. Box 2255                  Dear Sirs,
Grand Cayman
KY1-1107
                               Re: Link Motion Inc.
Cayman Islands

Tel: 1-345-949-0003
                               We are the Cayman Islands attorneys for Robert W. Seiden, in his capacity as
markrussell@ksglaw.ky
                               temporary receiver (the Receiver) of Link Motion Inc. (Link Motion), and
www.ksglaw.ky                  write in that capacity. This letter is being delivered to your registered office
                               in the British Virgin Islands, with an electronic copy sent to your United States
                               attorneys, Cho Legal Group LLC.

                               The United States District Court for the Southern District of New York
                               appointed the Receiver by an Order dated 1 February 2019. The Grand Court
                               of the Cayman Islands, by an order dated 3 February 2020, recognized the
                               Receiver’s appointment, powers and functions in the Cayman Islands and
                               ordered that the Receiver may exercise his recognized powers and functions
                               in the Cayman Islands to the exclusion of any other person. The effect of the
                               Receiver’s appointment by the US court and recognition by the Cayman
                               Islands court is that the Receiver may act for and on behalf of Link Motion.

                               Link Motion and China AI Capital Limited (China AI) entered into a
                               subscription agreement dated 19 July 2018 (the Subscription Agreement).
                               Under the Subscription Agreement, China AI subscribed for 70,175,439 Class
                               B common shares in the capital of Link Motion (the Shares), for a total
                               subscription price of US$20,000,000.

                               The Subscription Agreement contemplated a two-stage transaction.
                               Contemporaneously with execution, China AI was to pay US$10,000,000 to
                               Link Motion, and Link Motion was to issue the Shares, registered as 50% fully
                               paid and 50% unpaid. At Closing (as defined in the Subscription Agreement),
                               China AI was to pay the balance of the subscription price and Link Motion
                               would update its register of members to show the Shares as 100% fully paid.
                               The first stage of the transaction completed. Link Motion received
                               US$10,000,000 from China AI, and the current register of members records
                               China AI as holding the Shares, 50% fully paid and 50% unpaid.


         KSG Attorneys at Law is a body corporate under the Legal Practitioners (Incorporated Practice) Regulations 2006 (as revised) of the
         Cayman Islands and is incorporated in the Cayman Islands as an ordinary company as KSG Attorneys Ltd.
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                     Section 2(b) of the Subscription Agreement states that:

                              In the event that the Closing has not occurred by September 19, 2018,
                              [Link Motion] shall, and [China AI] hereby acknowledges and agrees
                              that [Link Motion] is empowered to, (i) declare the unpaid portion of the
                              Acquired Shares forfeited to [Link Motion] and to cancel such unpaid
                              portion of the Acquired Shares pursuant to the Memorandum and
                              Articles (as defined below); and (ii) take such actions as may be
                              necessary or advisable to implement such declaration.

                     Under section 2(c), China AI agreed “to take all actions and deliver all
                     documents and instruments necessary to give effect to actions of” Link Motion
                     with respect to forfeiture of the unpaid Shares under section 2(b).

                     In addition, section 2(f) of the Subscription Agreement states that:

                              In the event that the Closing has not occurred by September 19, 2018,
                              upon delivery to [China AI] by [Link Motion] of a written notice with
                              respect thereto [Link Motion] shall, and [China AI] hereby agrees to take
                              all actions and deliver all documents and instruments reasonably
                              requested by [Link Motion] enable [sic] [Link Motion] to, declare such
                              portion of the Acquired Shares forfeited to [Link Motion] and to cancel
                              such unpaid portion of the Acquired Shares.

                     The Receiver understands that Link Motion and China AI agreed to extend the
                     date for Closing to 19 November 2018. However, Closing has not occurred and
                     there have been no further agreements on extending the date set out in
                     sections 2(b) and (f) of the Subscription Agreement. Accordingly, Link Motion
                     has the right to declare 35,087,719.5 of the Shares, being the unpaid portion
                     of the Shares (the Unpaid Shares), forfeited.

                     Alternatively, the Receiver is prepared to agree to a Closing with China AI on
                     the basis that:

                     1.       China AI pays to Link Motion, represented by the Receiver, the amount
                              of US$10,000,000 in immediately available funds within 14 days of the
                              date of this letter.

                     2.       China AI waives the closing conditions set out in sections 2(d)(ii) to (vi)
                              and (viii) of the Subscription Agreement.

                     3.       Upon confirmation of receipt of the payment of US$10,000,000, the
                              Receiver will cause Link Motion to update its register of members to
                              show the Shares as fully paid and deliver a copy of the register of
                              members to China AI.


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                     If China AI is not prepared to agree to the above terms for Closing, Link Motion
                     intends to exercise its rights under the Subscription Agreement and its Articles
                     of Association to forfeit the Unpaid Shares. Accordingly, if China AI fails to pay
                     US$10,000,000 to the Receiver on the above terms within 14 days from the
                     date of this letter, the Unpaid Shares will be liable to be forfeited, and the
                     Receiver will promptly take all necessary actions to do so. Under the Articles
                     of Association, any person whose shares are forfeited shall cease to be a
                     shareholder in respect of the forfeited shares.

                     We will confirm bank payment instructions to you on request. All of Link
                     Motion’s and the Receiver’s rights are reserved.

                     Yours faithfully




                     KSG Attorneys at Law




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